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18
                                                              FOR THE DISTRICT OF ARIZONA
19
20 United States of America,                                                CASE NO. 2:18-cr-00422-SMB
21                                               Plaintiff,                 DEFENDANTS’ REPLY IN SUPPORT
                                                                            OF MOTION TO DISMISS
22                                                                          INDICTMENT BASED ON SECTION
                                           vs.
23                                                                          230 OF THE COMMUNICATIONS
                                                                            DECENCY ACT OR, ALTERNATIVELY,
24 Michael Lacey, et al.,                                                   AS VOID FOR VAUGNESS
25                                               Defendants.
26
27
28

        DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS INDICTMENT BASED ON SECTION 230 OF
             THE COMMUNICATIONS DECENCY ACT OR, ALTERNATIVELY, AS VOID FOR VAUGNESS
     4822-7462-645 8v.1 37 10078-00 0079
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             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS IDICTMENT BASED ON SECTION 230 OF
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 1                                            Defendants hereby file their reply in support of their motion to dismiss indictment based
 2 on section 230 of the Communications Decency Act. This reply is based on the attached
 3 memorandum of points and authorities, the previously filed motion to dismiss, the facts,
 4 records, and exhibits in this case and any argument that might be heard on this matter.
 5                                                               Memorandum of Points and Authorities
 6                                         I. Dismissal Based on Section 230
 7                                            The government’s Opposition to Defendants’ Motion to Dismiss Based on Section 230
 8 (“Opposition”) fails to rebut the conclusion that violations of the Travel Act cannot be
 9 premised on state offenses precluded by Section 230 of the CDA.                                                     The government’s
10 Opposition primarily relies on language in the CDA that says Section 230 does not apply to
11 “any other Federal criminal statute.” Opposition at 1-5. But making this absolute claim is a
12 bridge too far – the CDA, caselaw and common sense suggest that federal prosecution must be
13 pursuant to a substantive federal crime.
14                                            The language the government cites does not appear in a vacuum, but as part of a longer
15 paragraph, one that gives examples of what is intended. The pertinent provisions of the CDA
16 at the times referenced in the Indictment read as follows:
17                                            (e) Effect on other laws
18                                                   (1) No effect on criminal law
19                                                   Nothing in this Section shall be construed to impair the enforcement of Section
20                                                   223 or 231 of this title, chapter 71 (relating to obscenity) or 110 (relating to sexual
21                                                   exploitation of children) of title 18, or any other Federal criminal statute.
22 47 USC § 230(E).
23                                            Significantly, each of the statues noted in the CDA exceptions are substantive federal
24 crimes, proscribing particular conduct:
25                                                   47 USC § 223 precludes obscene or harassing phone calls;
26                                                   47 USC § 231 restricts providing access of harmful materials to minors;
27                                                   18 USC Chapter 71 contains the federal statutes criminalizing particular acts
28                                            related to obscenity (18 USC §§ 1460-1465); and
                                                                                        1
       DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS INDICTMENT BASED ON SECTION 230 OF
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 1                                             18 USC Chapter 110 contains the federal statutes criminalizing the sexual
 2                                      exploitation of children (18 USC §§ 1460-1470).
 3                                      The carve outs noted in Section 230 exemplify the common-sense notion that the
 4 exceptions to Section 230 protection are particular substantive federal statutes, not statutes like
 5 the Travel Act that necessarily depend on other substantive statutes.
 6                                      The cases cited by the government to suggest that the CDA permits the prosecution in
 7 this case are inapposite. Opposition at 4-5. None of those cases involve any Travel Act
 8 allegations, but instead involve substantive civil or criminal offenses, like the prosecution for
 9 narcotics distribution involved in Ulbricht, the only criminal case the government cites for this
10 proposition. The cases cited by the government simply don’t shed any light on the issues at
11 play here, where the Travel Act is the gravamen of the government’s indictment. As noted in
12 Defendants’ Motion, cases that do involve the Travel Act demonstrate that the Travel Act is
13 not applicable when the linked substantive offense is a legal impossibility. See Motion at 8-10.
14 The Tonry case referenced in the Motion is particularly instructive because, under the allegations
15 of that case, a crime did occur; but it simply was not one for which the defendant in that Travel
16 Act case could be found guilty. Tonry, 837 F.2d at 1284-85.
17                                      Common sense warrants the same conclusion. The CDA is a federal statute that
18 precludes prosecution of online publishers for purported violations of state laws like those
19 relating to prostitution. That federal Act would be meaningless if the government could simply
20 link the Travel Act to the very state criminal statues from which publishers are protected.
21 Federal law recognizes other immunities, for example diplomatic immunity. E.g., Brzak v. United
22 Nations, 597 F.3d 107, 113 (2d Cir. 2010) (“current diplomatic envoys enjoy absolute immunity
23 from civil and criminal process”). The government could not avoid diplomatic immunity by
24 simply linking an otherwise alleged illegal act by a diplomat with the Travel Act. Nor can it do
25 the same here to a publisher with immunity from prosecution.
26                                      The government also argues that Defendants are ineligible for CDA immunity because
27 they “deliberately created and/or acquired prostitution ads.” Opposition at 1. This issue of
28 avoiding Section 230 immunity by alleging content creation was directly confronted and rejected

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 1 in several cases involving Backpage, most notably in the California criminal prosecution against
 2 Backpage Defendants. There, the court dismissed state prostitution charges because they were
 3 barred by Section 230. Like here, the prosecutors in California argued that Section 230
 4 immunity “may be removed if Defendants’ conduct went beyond those of a publisher and
 5 constituted content creation.” People v. Ferrer, No. 16FE024013 (Sup. Ct. Sacramento Cty. Aug.
 6 23, 2017) (“Ferrer II”), attached as Ex. A, at p. 13. The court addressed the issue in detail, and
 7 rejected the prosecution’s argument that the alleged “content creation” obviated Section 230
 8 immunity because:
 9                                                1) Backpage’s alleged moderation and content creation did “not change the user’s
10                                      intent” so did not provide “material contribution to the offensive content,” keeping
11                                      Backpage’s actions “within the scope of protected editorial functions” (citing Doe v.
12                                      Backpage.com, LLC, 812 F.3d 12, 20-21 (1st Cir 2016);
13                                                2) “Even if the edits or posting rules allow advertisers to use coded language, this
14                                      is insufficient to render the website operator a content provider . . . . [I]t is the third party
15                                      who is responsible for the illegal content of the advertisement” (citing Jones v. Dirty World
16                                      Entm’t. Recordings, LLC, 755 F.3d 398, 414 (6th Cir 2014);
17                                                3) “[E]ven if Backpage knew of the unlawfulness of the content of the ads,
18                                      knowledge is insufficient to render Defendants liable. This is true regardless of whether
19                                      Backpage even exercised its editorial discretion and deleted or blocked certain terms
20                                      from ads” (citing Doe II v. MySpace, Inc., 175 CalApp 4th 561, 571 (2009); Doe v.
21                                      Backpage.com, 812 F.3d at 21); and
22                                                4) “[C]ourts have stated that the motivation behind editorial decisions ‘do not
23                                      alter the fact that the complaint premises liability on the decisions Backpage is making
24                                      as a publisher with respect to third-party content”’ (citing Doe v. Backpage.com, 812 F.3d
25                                      at 21).
26                                      Noting all of these points, the court found that “there is no material contribution to the
27 offensive content in the advertisements, and the allegations reference traditional publisher
28 functions.” Id. at 15. As such, Section 230 immunized the Backpage defendants, and the court

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 1 dismissed the criminal charges against them that were based on alleged promotion of
 2 prostitution.
 3                                         The same law and conclusions that warranted rejection of the “content creation”
 4 allegations in the California criminal case and Doe v. Backpage warrant rejection of that claim
 5 here. Indeed, Judge Brown’s conclusion regarding Section 230 in the California criminal case
 6 is equally applicable here:
 7                                         “[F]ederal law provides broad immunity for internet service providers from both federal
                                           and state criminal prosecutions. Indeed, the 9th Circuit federal appellate court has
 8                                         instructed such immunity be applied liberally. The underlying public policy is to permit,
 9                                         and promote, the robust growth of the internet by shielding providers from facing suit
                                           over the content created by those posting on their sites. If and until Congress sees fit to
10                                         amend the immunity law, the broad reach of Section 230 of the Communications
                                           Decency Act even applies to those alleged to support the exploitation of others by
11                                         human trafficking.”
12
     Id. at 18. Because the instant charges are premised on Defendants’ publication of alleged
13
     prostitution ads, for which they had Section 230 immunity, the charges must be dismissed. 1
14
                                        II. Dismissal As Unconstitutionally Vague
15
                                           Even if the Court were to find that Section 230 immunity did not apply, the existence of
16
     Section 230 immunity renders any attempt to prosecute Defendants under the Travel Act for
17
     their publishing activities void as unconstitutionally vague. The government’s reference to two
18
     plea agreements under the Travel Act, Opposition at 14, is of no avail: they weren’t contested
19
     matters where any defendant actually challenged the application of the Travel Act. Nor does
20
     the alleged “drumbeat of notice” listed by the government, purporting to consist of some law
21
     enforcement officers, Congress, news organizations, some financial institutions, some employee
22
     concerns, and Google alerts, Opp’n at 14-15, suffice to provide adequate legal notice of criminal
23
     exposure. Indeed, the only “legal notice” that occurred prior to the instant Indictment on the
24
     issue of whether Backpage defendants could be prosecuted, civilly or legally, for their publishing
25
26
27   1 The government also argues that the Court’s October 24, 2019 Order (Dkt. 793) governs
   the instant Motion. It does not for the simple reason that different issues were presented in
28
   that motion than in this Motion.
             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS IDICTMENT BASED ON SECTION 230 OF
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 1 activities is found in prior rulings of judges in actual lawsuits and prosecutions relating to
 2 Backpage. Those prior judicial rulings provide a resounding “no,” holding that Backpage and
 3 its principals could not be sued or prosecuted.                                      Caselaw and statutes applicable before
 4 defendants were indicted in this case were “not sufficiently clear to provide guidance.” 2 Motion
 5 at 11-13, Zhi Yong Guo, 634 F.3d at 1121. The government’s attempt to use the Travel Act to
 6 prosecute activities exempted under CDA Section 230 is void as unconstitutionally vague.
 7                                      III. The Conspiracy and Money Laundering Counts
 8                                         When the Travel Act counts fail, the conspiracy and money laundering counts based on
 9 the same alleged conduct necessarily fail. For example, to support a money laundering
10 conviction based on Travel Act violations, the government is required to prove “that the
11 defendant knew that the underlying acts which provided the sources of the laundered proceeds
12 were illegal.” United States v. Golb, 69 F.3d 1417, 1428 (9th Cir. 1999).
13                                         The government responds by citing two inapposite out-of-circuit cases for the blanket
14 assertion that “[e]ven if Defendants could avoid liability on the Travel Act counts, they may still
15 be prosecuted for money-laundering related crimes…” Opp’n at 16:21-17:5. The defendants
16 in those cases were charged with direct money laundering – their sole alleged function was to
17 hide proceeds provided to them by drug dealers. This is not the same theory used in the instant
18 case, where the government’s money laundering charges are premised on allegations that
19 Backpage and its alleged co-conspirators knew they were promoting prostitution (and intended
20 to do so). Here, the government must prove that Defendants’ conduct in publishing ads was
21 illegal in order to show that the handling of the funds collected for those ads was illegal. It
22 cannot do so, since Defendants’ activity was legally protected under the CDA. Consequently,
23 the money laundering charges attached to the CDA activity similarly fail.
24
25   2
       Since the time defendants were indicted, Congress enacted a substantive federal criminal
26 statute authorizing prosecution of those who operate interactive computer services with the
   intent to promote or facilitate the prostitution of another person. 18 USC Section 2421A.
27 Before enactment of Section 2421A, no substantive federal statute existed that would vitiate
   Section 230 immunity for publishers, and there certainly was insufficient notice that internet
28
   publishers could be criminally liable for their publishing activities.
             DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS IDICTMENT BASED ON SECTION 230 OF
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1                                                                   CONCLUSION
2                                       For the foregoing reasons, Defendants respectfully request that the Court grant

3 Defendants’ Motion to Dismiss Indictment Based on Section 230 of the Communications
4 Decency Act or, Alternatively, as Void for Vagueness (Doc. 783).
5
6                                                                    Respectfully submitted,

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 1                                               CERTIFICATE OF SERVICE
 2        I certify that on this 23rd day of December 2019, I electronically transmitted a PDF
 3 version of this document to the Clerk of the Court, using the CM/ECF System, for filing and
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